             Case 6:21-ap-00081-LVV     Doc 50    Filed 04/20/22   Page 1 of 2




                                    ORDERED.
Dated: April 20, 2022




                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION
                                www.flmb.uscourts.gov

In re:                                            Case No. 6:19-bk-05398-LVV

J.E.L. SITE DEVELOPMENT, INC.                     Chapter 7

         Debtor.
                                          /

GENE T. CHAMBERS, CHAPTER 7
TRUSTEE FOR THE ESTATE OF                         Adv. No: 6:21-ap-00081-LVV
J.E.L. SITE DEVELOPMENT, INC.,

         Plaintiff,

v.

JANICE MOORE LUCAS a/k/a
JANICE W. LUCAS a/r/a JAN LUCAS,
individually,

     Defendant.
__________________________________/

     ORDER GRANTING EMERGENCY MOTION TO CONTINUE HEARING

         THIS PROCEEDING came before the Court on an emergency basis, without a hearing, on
               Case 6:21-ap-00081-LVV       Doc 50    Filed 04/20/22     Page 2 of 2



  Jan Lucas’ Emergency Motion to Continue Hearing (Doc. No. 48) (the “Motion to Continue”).

  The Court, having reviewed the Motion to Continue, and being otherwise fully advised in the

  premises, it is

          ORDERED:

          1.        The Motion to Continue (Doc. No. 48) is GRANTED.

          2.        The hearing on Defendant’s Motion for Summary Judgment (Doc. No. 23) and

all responses thereto set for April 21, 2022 at 1:30 p.m. is hereby continued to May 11, 2022 at

9:30 a.m.



Attorney Justin M. Luna is directed to serve a copy of this order on interested parties who do not
receive service by CM/ECF and file a proof of service within three days of entry of this order.




                                                 2
